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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                               Northern District
                                             __________  DistrictofofCalifornia
                                                                      __________


             UNITED STATES OF AMERICA                          )
                             Plaintiff                         )
                                v.                             )      Case No.     3:22-cv-03070-TSH
                       TWITTER, INC.                           )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Nonparty Ernst & Young LLP                                                                                   .


Date:          09/18/2023                                                              /s/ Rebecca B. Durrant
                                                                                          Attorney’s signature


                                                                                 Rebecca B. Durrant (SBN 350444)
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